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               In the United States Court of Federal Claims

                                          No. 17-877 C
                                     Filed: August 20, 2020


COMMON GROUND HEALTHCARE
COOPERATIVE


                                                            RULE 54(b)
                                                            JUDGMENT
          v.

THE UNITED STATES


        Pursuant to the court’s Order, filed August 19, 2020, granting plaintiff’s motion to amend
the judgment, entered on July 23, 2020, pursuant to RCFC 59(e) and RCFC 60(b), and directing
the entry of judgment pursuant to Rule 54(b), there being no just reason for delay,

        IT IS ORDERED AND ADJUDGED this date, pursuant to Rule 58, that the Non-Dispute
Subclass recover of and from the United States the amount of $1,796,711,630.07. The judgment
shall be payable to JND Legal Administration, the claims administrator retained by class
counsel, for distribution to the members of the Non-Dispute Subclass as set forth in the attached
Exhibit A.



                                                    Lisa L. Reyes
                                                    Clerk of Court

                                             By:    s/ Debra L. Samler

                                                    Deputy Clerk
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        Exhibit A
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              IN THE UNITED STATES COURT OF FEDERAL CLAIMS

COMMON GROUND HEALTHCARE
COOPERATIVE,
                                                      Case No. 17-877C
              Plaintiff,
              on behalf of itself and all others      Judge Sweeney
              similarly situated,

        vs.

THE UNITED STATES OF AMERICA,

              Defendant.


                   EXHIBIT A TO MOTION TO AMEND JUDGMENT

                                                                      2016 RC Payments
 HIOS ID                            Issuer Name
                                                                           Balance
36373         All Savers Insurance Company                        $6,211,732.83
39924         All Savers Insurance Company                        $1,126,391.67
85947         All Savers Insurance Company                        $37,629,395.75
98971         All Savers Insurance Company                        $2,787,630.49
78726         All Savers Insurance Company                        $446,164.50
63509         Allegian Insurance Company                          $6,758,866.06
67577         Alliance Health and Life Insurance Company          $846,068.00
32536         ATRIO Health Plans                                  $3,823,044.78
60536         Avera Health Plans, Inc.                            $14,067,742.19
74980         Avera Health Plans, Inc.                            $363,498.27
15287         Blue Cross & Blue Shield of Rhode Island            $6,723,928.86
18558         Blue Cross and Blue Shield of Kansas, Inc.          $17,976,022.65
27811         BlueCross BlueShield Kansas Solutions, Inc.         $28,596,175.72
40586         Bluegrass Family Health, Inc.                       $12,763,363.04
45127         Capital Advantage Assurance Company                 $12,584,816.88
10207         CareFirst BlueChoice, Inc.                          $8,737,341.69
28137         CareFirst BlueChoice, Inc.                          $41,057,486.62
86052         CareFirst BlueChoice, Inc.                          $139,120.92
45532         CareFirst of Maryland, Inc.                         $11,602,784.86
77552         CareSource                                          $32,086,445.80
54192         CareSource Indiana, Inc.                            $10,568,031.40
45636         CareSource Kentucky Co.                             $3,087,507.35
50328         CareSource West Virginia Co.                        $1,239,716.45
94788         CDPHP                                               $1,128,625.43
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92551        CDPHP Universal Benefits Inc.                       $10,440,924.71
47579        Chinese Community Health Plan                       $1,287,266.96
66252        CHRISTUS Health Plan                                $9,529,090.47
72034        CHRISTUS Health Plan                                $2,352,154.70
63312        Colorado Choice Health Plans                        $4,956,311.74
87416        Common Ground Healthcare Cooperative                $27,657,256.98
18581        Community Health Plan of Washington                 $492,042.87
98905        CommunityCare HMO Inc.                              $677,742.83
87698        CommunityCare Life & Health Insurance Co.           $1,522,505.85
38345        Dean Health Plan                                    $5,406,793.42
78124        Excellus Health Plan, Inc.                          $23,595,031.50
88806        Fallon Community Health Plan, Inc.                  $1,935,393.50
22444        Geisinger Health Plan                               $13,244,631.61
75729        Geisinger Quality Options, Inc.                     $5,955,066.10
78079        GHMSI                                               $434,190.13
94084        GHMSI                                               $9,019,881.61
80473        Group Health Cooperative                            $21,043,260.92
34102        Group Health Plan, Inc.                             $14,052,643.55
40308        Group Hospitalization and Medical Services Inc.     $4,073,508.25
27651        Gundersen Health Plan, Inc.                         $81,427.05
91058        Gundersen Health Plan, Inc.                         $3,649,847.44
78463        Harken Health Insurance Company                     $28,285,818.16
95852        Harken Health Insurance Company                     $12,210,414.34
70239        Health Choice Insurance Co.                         $12,591,097.47
27357        Health First Health Plans, Inc.                     $1,432,717.01
77150        Health First Insurance, Inc.                        $205,230.49
95865        Health Plan of Nevada, Inc.                         $3,326,339.65
47342        Health Tradition Health Plan                        $2,691,924.97
92036        HealthSpan, Inc.                                    $1,546,837.99
20126        HealthSpan Integrated Care                          $4,471,693.71
19636        HMO Louisiana, Inc.                                 $5,177,649.58
91661        Horizon Healthcare Services, Inc.                   $16,478,389.42
33380        Indiana University Health Plans, Inc.               $403,177.29
21032        Kaiser Foundation Health Plan of Colo.              $76,429,472.92
89942        Kaiser Foundation Health Plan of Georgia            $30,010,904.53
             Kaiser Foundation Health Plan of the Mid-Atlantic
90296        States, Inc.                                        $31,142,310.40
             Kaiser Foundation Health Plan of the Mid-Atlantic
94506        States, Inc.                                        $2,007,972.38
             Kaiser Foundation Health Plan of the Mid-Atlantic
95185        States, Inc.                                        $36,966,452.97
40513        Kaiser Foundation Health Plan, Inc.                 $155,537,695.89
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60612        Kaiser Foundation Health Plan, Inc.                $16,173,112.98
23371        Kaiser Foundation Healthplan of the NW             $6,553,058.03
71287        Kaiser Foundation Healthplan of the NW             $15,251,167.48
53789        Keystone Health Plan Central                       $14,500,584.78
97176        Louisiana Health Service & Indemnity Company       $23,579,282.01
58326        MercyCare HMO, Inc.                                $1,966,338.04
35334        MercyCare Insurance Company                        $690,228.89
11177        MetroPlus Health Plan                              $15,037,085.52
81413        Network Health Plan                                $2,307,460.56
82483        North Shore-LIJ Insurance Company Inc              $113,132,550.69
20507        Optima Health Plan                                 $8,636,390.10
10544        Oscar Health Plan of California                    $4,167,289.22
20069        Oscar Insurance Company of Texas                   $35,085,745.70
74289        Oscar Insurance Corporation                        $107,138,699.40
50221        Oscar Insurance Corporation of New Jersey          $3,064,840.14
48834        Oxford Health Plans (NJ), Inc.                     $4,561,830.04
10091        PacificSource Health Plans                         $7,045,120.75
23603        PacificSource Health Plans                         $9,853,702.22
60597        PacificSource Health Plans                         $1,205,143.84
65441        PHPS, Inc. (fka Phoenix Health Plans, Inc.)        $14,356,552.64
50816        Physicians Health Plan of Northern Indiana, Inc.   $4,482,634.94
58564        Physicians Plus Insurance Corporation              $464,542.33
26734        Premier Health Plan, Inc.                          $5,682,287.55
57173        Presbyterian Health Plan, Inc.                     $2,801,184.47
52744        Presbyterian Insurance Company, Inc.               $8,019,908.13
29698        Priority Health                                    $26,339,617.56
29241        Priority Health Insurance Company (PHIC)           $7,075,598.39
37392        Prominence HealthFirst of Texas, Inc.              $1,572,951.33
56707        Providence Health Plan                             $66,966,568.57
70525        QCA Health Plan, Inc.                              $5,894,850.51
37903        QualChoice Life & Health Insurance Company, Inc.   $6,742,797.09
80208        Rocky Mountain Health Care Options                 $4,463,039.51
97879        Rocky Mountain HMO                                 $14,623,375.96
38166        Security Health Plan of Wisconsin, Inc.            $27,043,286.85
26002        SelectHealth                                       $57,700,877.85
68781        SelectHealth                                       $143,988,818.30
26539        SHA, LLC DBA FirstCare Health Plans                $7,708,618.14
92499        Sharp Health Plan                                  $1,282,855.34
52664        Summa Insurance Company, Inc.                      $2,037,988.17
85736        UCare Minnesota                                    $10,114,026.06
37873        UnitedHealthcare Benefits Plan of California       $510,269.44
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49650    UnitedHealthcare Insurance Company          $793,529.41
31779    UnitedHealthcare Insurance Company          $492,333.25
23489    UnitedHealthcare Insurance Company          $2,903.41
57860    UnitedHealthcare Insurance Company          $486,864.50
69443    UnitedHealthcare Insurance Company          $2,134,105.98
68259    UnitedHealthcare of Alabama, Inc.           $4,226,662.97
59036    UnitedHealthcare of Colorado, Inc.          $719,427.07
68398    UnitedHealthcare of Florida, Inc.           $9,330,450.46
43802    UnitedHealthcare of Georgia, Inc.           $4,356,433.40
38499    UnitedHealthcare of Louisiana, Inc.         $200,537.78
97560    UnitedHealthcare of Mississippi, Inc.       $3,906,592.67
54235    UnitedHealthcare of New York, Inc.          $4,509,245.86
33931    UnitedHealthcare of Ohio, Inc.              $3,833,592.57
45480    UnitedHealthcare of Oklahoma, Inc.          $3,012,668.48
24872    UnitedHealthcare of Pennsylvania, Inc.      $2,254,922.55
21066    UnitedHealthcare of the Mid-Atlantic Inc    $53,160.65
38599    UnitedHealthcare of the Mid-Atlantic Inc    $1,646,134.28
44751    UnitedHealthcare of the Midlands, Inc.      $6,406,781.24
51902    UnitedHealthcare of the Midlands, Inc.      $1,351,512.14
16724    UnitedHealthcare of the Midwest, Inc.       $157,038.37
66413    UnitedHealthcare of Utah, Inc.              $53,669.11
43861    UnitedHealthcare of Washington, Inc.        $1,374,207.83
62560    UPMC Health Coverage, Inc.                  $281,136.83
16322    UPMC Health Options, Inc.                   $60,714,960.72
75293    USAble Mutual Insurance Company             $19,022,135.87
67243    Vantage Health Plan, Inc.                   $8,130,698.29
93689    Western Health Advantage                    $1,695,441.23
30969    ZOOM+Care Health Insurance                  $1,067,230.06
TOTAL                                                $1,796,711,630.07
